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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

JASON WESLEY,                                        §
     Plaintiff,                                      §
                                                     §
V.                                                   §      CIVIL NO. 4:24-CV-557-P
                                                     §
TEXAS OFFICE OF THE                                  §
ATTORNEY GENERAL,                                    §
    Defendant.                                       §

                          ORDER RECOMMENDING DISMISSAL
                        AND RETURNING CASE TO DISTRICT JUDGE

        On June 17, 2024, pro se Plaintiff Jason Wesley (“Wesley”) filed the above-styled and

referenced case. On June 24, 2024, the Court Ordered Wesley to “either pay the total filing and

administrative fees of $405.00 or fully complete and return the application to proceed in forma

pauperis, no later than” July 8, 2024 [doc. 5]. Additionally, the order warned Wesley that failure

to comply “could result in the dismissal of this case without further notice.” (ECF 5 at 2

(emphasis in original)). As of the date of this Order, Wesley has failed to comply with the Court’s

Order to either pay the applicable fees or submit the application to proceed in forma pauperis.

Consequently, the Court RECOMMENDS that the above-styled and numbered case be

DISMISSED for failing to comply with the Court’s Order.1

                       NOTICE OF RIGHT TO OBJECT TO PROPOSED
                     FINDINGS, CONCLUSIONS AND RECOMMENDATION
                        AND CONSEQUENCES OF FAILURE TO OBJECT

        Under 28 U.S.C. § 636(b)(1), each party to this action has the right to serve and file specific

written objections in the United States District Court to the United States Magistrate Judge’s

proposed findings, conclusions and recommendation within fourteen (14) days after the party has



        1
          The Court also notes that Plaintiff’s claims are barred by the Rooker-Feldman Doctrine as lower Federal
Courts do not sit in appellate review of state courts.
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been served with a copy of this document. The United States District Judge need only make a de

novo determination of those portions of the United States Magistrate Judge’s proposed findings,

conclusions and recommendation to which specific objection is timely made. See 28 U.S.C. §

636(b)(1). Failure to file, by the date stated above, a specific written objection to a proposed

factual finding or legal conclusion will bar a party, except upon grounds of plain error or manifest

injustice, from attacking on appeal any such proposed factual findings and legal conclusions

accepted by the United States District Judge. See Douglass v. United Servs. Auto Ass’n, 79 F.3d

1415, 1428–29 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. §

636(b)(1) (extending time to file objections from ten to fourteen days).

                                               ORDER

        Under 28 U.S.C. § 636, it is hereby ORDERED that each party is granted until July 23,

2024, to serve and file written objections to the United States Magistrate Judge’s proposed

findings, conclusions, and recommendation. It is further ORDERED that if objections are filed

and the opposing party chooses to file a response, the response shall be filed within seven (7) days

of the filing date of the objections.

        It is further ORDERED that the above-styled and numbered action, previously referred to

the United States Magistrate Judge for findings, conclusions and recommendation, be and hereby

is returned to the docket of the United States District Judge.

        SIGNED July 9, 2024.

                                              ____________________________
                                              JEFFREY L. CURETON
                                              UNITED STATES MAGISTRATE JUDGE
